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 6   Attorneys for Debtors

 7                            UNITED STATES BANKRUPTCY COURT

 8                                    DISTRICT OF ARIZONA

 9   In re:
                                                    Chapter 13
10
     REY OMAR ALVAREZ and                           Case No.: 4:20-bk-08061-BMW
11   ANABEL RAMOS DE ALVAREZ,
                                                    NOTICE AND REQUEST TO TRUSTEE
12                                                  TO BEGIN ADEQUATE PROTECTION
                               Debtors.             PAYMENTS
13

14

15             The Debtors, REY OMAR ALVAREZ and ANABEL RAMOS DE ALVAREZ by and

16     through counsel, hereby request that the Trustee begin the monthly adequate protection

17     payments of $135.00 per month to TUCSON FEDERAL CREDIT UNION on the 2008 BMW

18     328i.

19

20     DATE:       January 18, 2021          LERNER & ROWE LAW GROUP

21

22                                           By:    /s/ Morgan B. McCain, SBN: 025878
                                                    Andrew S. Nemeth, SBN: 115509
23                                                  Morgan B. McCain, SBN: 025878
                                                    2701 E. Camelback Road, Suite 185
24                                                  Phoenix, AZ 85016
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25

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 1   Copy of the foregoing sent via
     first class mail and/or email this
 2   13th day of January 2021 to:
 3   Dianne C. Kerns, Trustee
     31 N. 6th Avenue #105-152
 4   Tucson, AZ 85701
     mail@dcktrustee.com
 5

 6   By: /s/ Morgan B. McCain
         Morgan B. McCain
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